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                             UNITED STATES COURT OF APPEALS
                                            for the
                                      SECOND CIRCUIT
                         ____________________________________________

         At a Stated Term of the United States Court of Appeals for the Second Circuit, held at
the Thurgood Marshall United States Courthouse, 40 Foley Square, in the City of New York, on
the 4th day of December, two thousand and twenty-three,

____________________________________

E. Jean Carroll,                                            ORDER
                                                            Docket No: 23-793
lllllllllllllllllllllPlaintiff - Appellee,

v.

Donald J. Trump,

lllllllllllllllllllllDefendant - Appellant.
_______________________________________

       Counsel for Appellee E. Jean Carroll has filed a scheduling notification pursuant to the
Court's Local Rule 31.2, setting February 16, 2024, as the brief filing date.

        It is HEREBY ORDERED that Appellee's brief must be filed on or before February 16,
2024. If the brief is not filed by that date, the appeal will proceed to a merits panel for
determination forthwith, and Appellee will be required to file a motion for permission to file a
brief and appear at oral argument. A motion to extend the time to file the brief or to seek other
relief will not toll the filing date. See Local Rule 27.1(f)(1); cf. RLI Insurance Co. v. JDJ Marine,
Inc., 716 F.3d 41, 43-45 (2d Cir. 2013).




                                                       For The Court:
                                                       Catherine O'Hagan Wolfe,
                                                       Clerk of Court
